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May 26, 2022

United States Attorney’s Office
601 D Street N.W.
Washington, DC 20530

To Whom It May Concern:

As a result of the the riot that occurred at the United States Capitol on January 6, 2021, the
Architect of the Capitol suffered damages in the amount of $1,253,354.01 and is seeking
restitution of that sum through the cases being prosecuted by the United States.

The amount listed above does not include costs incurred in other areas of the Capitol complex, to
include project delays and installation of temporary security measures.

Sincerely,
                  Digitally signed by Hasberry,
Hasberry,         Valerie L.
                  Date: 2022.05.26 09:21:52
Valerie L.        -04'00'

Valerie L. Hasberry
Chief Security Officer
